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                           UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF PENNSYLVANIA

IN RE:                                          : CHAPTER 7
                                                :
CAMPISI CONSTRUCTION, INC.                      :
                                                :
                        DEBTOR                  : BKY. NO. 14-12458JKF

          ANSWER OF THE CHAPTER 7 TRUSTEE TO MOTION TO APPROVE
                DISPOSITION OF ABANDONED EQUIPMENT TO THE
               SECURED CREDITOR, ECI, LLC, FREE AND CLEAR OF
             LIENS, CLAIMS, ENCUMBRANCES AND OTHER INTERESTS

         Terry P. Dershaw, the Chapter 7 Trustee herein (“Trustee”), by and through his counsel,

Fox Rothschild LLP, files this Answer to the Motion of ECI, LLC (“ECI”) and, in support

thereof, states as follows:

         The equipment and certain assets of this bankruptcy Estate were abandoned upon the

entry of an Order on June 3, 2016. The Movant, in paragraphs 23, 29, and 37 of the Motion,

alleges consent by the Trustee to actions taken by ECI following the Order of abandonment.

These assertions are incorrect. Once the Order of abandonment was entered, the Trustee and his

undersigned counsel took no position regarding the equipment or the filing of any legal

documents.

         It is incorrect to state that the Trustee permitted ECI to collect or assemble the assets.

Those assets were no longer part of the Estate, and the Trustee was not a party to any effort to

collect or assemble assets.

         It is also incorrect to state that the Trustee consented to the perfection of the security

interest of ECI. The Trustee, again, had no interest in the property and was not a party to any

effort to perfect or file documents on behalf of ECI.




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        The Order of abandonment pursuant to §554 of the Bankruptcy Code is a final and

unappealable Order. The Trustee has no position regarding the abandoned assets or regarding

the relief requested herein.

                                           Respectfully submitted,

                                           FOX ROTHSCHILD LLP



                                           By: /s/ Edward J. DiDonato
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